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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

   United States of America,                  No. 19-20026-6

                Plaintiff,                    Hon. Gershwin A. Drain
   v.
                                              Offense:
   D-6 Avinash Thakkallapally,                18 U.S.C. § 371
                                              Conspiracy to commit visa fraud and
                Defendant.                    harbor aliens for profit

                                              Maximum Penalty: Up to 5 years

                                              Maximum Fine: $250,000

                                              Supervised Release:
                                              Up to 3 years


              GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant Avinash Thakkallapally is a foreign citizen who abused the student

 visa program so that he could remain and work in the United States illegally.

 Moreover, he and his co-conspirators recruited at least 600 foreign students to do the

 same. Thakkallapally is criminally responsible for the recruitment of over 100

 students, 54 of which he personally recruited, and in return for his recruitment

 efforts, he received at least $15,000 in profits. Accordingly, the United States of

 America respectfully recommends that the Court impose a sentence between 37–46
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 months, the sentencing guideline range calculated by the United States. Such a

 sentence is necessary in light of the seriousness of the offense, the need to punish

 Thakkallapally, deter Thakkallapally and others from committing the same

 misconduct, Thakkallapally’s personal characteristics and to avoid unwarranted

 sentencing disparities.

  I.   BACKGROUND

       Defendant Avinash Thakkallapally is a citizen of India who first traveled to

 the United States in 2015 on a temporary student visa known as an F-1 visa. (PSR ¶

 9). Before he could obtain his F-1 visa, Thakkallapally applied to study in the

 United States at a university through the Student and Exchange Visitor Program

 (“SEVP”), which is overseen by the Department of Homeland Security. (Id. at ¶ 10).

 Once accepted by a university—in this case Harrisburg University—the school

 issued a “Certificate of Eligibility for Nonimmigrant Student Status,” better known

 as a Form I-20. (Id. at ¶ 10–11).

       Thakkallapally’s Form I-20 permitted him to enter the United States, (PSR

 ¶ 12), which he first did in 2015. (Post Arrest Interview). While in the United States,

 he used his Form I-20 for identification and proof of legal and academic status in the

 United States, and it also allowed for him to travel abroad and return to the United

 States. (Id. at ¶ 12). For his Form I-20 to remain valid, Thakkallapally knew that he

 needed to maintain his status as a full-time student “making progress toward

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 completion of [his] field of study,” whether at his original school or any school to

 which he later transferred. (Id. at ¶ 13).

       Thakkallapally’s visa and Form I-20 also permitted him to participate in

 curricular practical training (“CPT”), which allowed him to find gainful employment

 as long as he continued to attend classes and make academic progress toward his

 degree. (PSR ¶ 15).

       From February 2017 through January 2019, undercover agents from

 Homeland Security Investigations (“HSI”) posed as employees of the University of

 Farmington (“the University”), located in Farmington Hills, Michigan. (PSR at ¶ 16-

 17). The University had no instructors, no classes, and no educational activities.

 Rather, it was a fictitious university used by foreign citizens as a “pay to stay”

 scheme. Id. Under the “pay to stay” scheme, foreign citizens would enroll with the

 University as “students,” but they would take no classes nor attend any educational

 programs. Instead, they would pay tuition so that the University would issue them

 Form I-20’s that identified them as students making progress toward a degree, and

 if they desired, they could also seek gainful employment through the CPT program.

 Id.

       On July 17, 2017, Thakkallapally contacted the University to discuss enrolling

 in the University without attending classes in order to fraudulently maintain his

 immigration status. Thakkallapally was told the arrangement was illegal and he

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 should use discretion when talking about the arrangement with others. Below is an

 excerpt of that conversation (AT = Avinash Thakkallapally, UC = Undercover

 Agent):

             AT: Actually my OPT going to expire next month, I would like to
                 do second masters or CPT University of Farmington.

                   ****

             UC: So, what have heard about us....What have you heard about our
                 program here?

             AT: I didn’t heard about any program just heard about a college.

             UC: So my question is are you planning on moving to Michigan?

             AT: No, I’d like to (unintelligible) online only.

             UC: You know we don’t have just online courses.

             UC: Let me ask you another question. Are you….. looking to
                 actually go to classes or are you just looking to just maintain
                 your status?

             AT: I am just looking to maintain my status.

             UC: So you don’t want to go to a class or anything like that?

             AT: Exactly.

             UC: Ok. Listen I can help you out but obviously, you know… this
                 arrangement is not legal, you know?

             AT: Yeah.

             UC: You understand that? I mean I could bring you in with no
                 classes…and give you Day 1 CPT but obviously it’s not legal

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                    so it has to stay between us. You know?

              AT: Yeah. I not tell to anybody.

              UC: Are you comfortable with that arrangement?

              AT: Yeah.


       The following day, Thakkallapally called the University to discuss his

 application process and the enrollment period. He also asked the undercover agent

 about whether he could refer students to the University of Farmington in exchange

 for money:

              AT: So, do you accept any referrals?

              UC: What do you mean….oh, you want to refer people?

              AT: Yeah, there are lot of friends coming up.

              UC: Sure, why not. Just tell them that you sent them.

              AT: How much is the referral?

              UC: How many people can you bring in?

              AT: Uh…Five to ten.

              UC: Five to ten?

              AT: Yeah.

              UC: Um….I don’t know, what are you thinking?

              ****
              AT: Right now there are two people, so that is the reason I am
                   telling….
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                  UC: Well, we can talk about it, let me think about it.


 During the conversation Thakkallapally proposed receiving $400 per student and

 mentioned that he had previously received $500 per student from Harrisburg

 University for referring students 1. (7/18/17 Recorded phone call). The undercover

 agent told Thakkallapally that he wanted to think about Thakkallapally’s proposal

 and would discuss it with him in the future. In a September 28, 2017 phone

 conversation, Thakkallapally and the undercover agent agreed to a referral fee of

 $500 per student:

                  AT: How about the referral?

                  UC: What about the referral?

                  AT: Ali, actually, you tell me that.

                  UC: Right, right. What are you thinking?

                  ****

                  UC: Do you have a number in your head?

                  AT: Yeah.

                  UC: What’s your number?

                  AT: I tell you. In Harrisburg university, in each and every
                      university, in NPU…. for one student its $500.

 1
  While recruiting foreign students for a legitimate university is not illegal, doing so is a violation of
 Thakkallapally’s F1 student visa which only permits him to work under a practical training program such as Optical
 Practical Training (OPT) or Curricular Practical Training (CPT).
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              UC: Ok, I can do $500.


        In the weeks and months that followed, Thakkallapally continued his

 recruitment efforts. There were days when Thakkallapally called the University

 repeatedly to request various actions be taken on behalf of his students. In addition,

 Thakkallapally updated the agent on his recruiting efforts, asked for additional

 students to be admitted and inquired about payment for recruiting students. Below

 are examples of Thakkallapally’s exhaustive involvement in the affairs of his

 students:

 10/20/17     “I sent N-A-G-A-V-A photo and address          ….did you send student
              ID?”

 10/30/17     “One guy, P-O-L-A-D-I…I am going to send photo and offer letter.

 11/6/17      “One more thing , my cousin needs acceptance ASAP…can I send it
              to you, can you give acceptance by today…is it ok if I get 15-20
              people for January”

 11/13/17     “Actually, one more thing…that money…Thanksgiving is coming and
              shopping IPhone XP….that money….anything arranged?”


       On November 27, 2017, Thakkallapally and the undercover agent agreed to a

 sum of $5000 for recruiting 14 students and further agreed that the money would be

 wired by the undercover agent to Thakkallapally’s bank account.               Below,

 Thakkallapally, under the alias “Vineth errabelli” emailed the University with his


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 banking information:

                           From: Vinith errabelli
                           Sent: Wednesday, December 13, 2017 1:04 PM
                           To: Ali Milani
                           Subject: Wire transfer

                           Hi Ali, plz find the details

                           Chase bank
                           Account number:717815182
                           Routing number:322271627


 Four months later, undercover agents wired an additional $10,000 to

 Thakkallapally’s Wells Fargo bank account, which represented payment for

 recruiting students to the University.

       In total, this conspiracy recruited over 600 foreign students to the University

 of Farmington. (R.1: Indictment, 1). Thakkallapally personally recruited at least

 fifty four (54) students (Exhibit 1), and he also received cash payments of at least

 $15,000 from the University (Id. at ¶ 19).

       Thakkallapally has pled guilty to conspiring to commit visa fraud (18 U.S.C.

 § 1546(a)) and harboring aliens for profit (8 U.S.C. § 1324) in violation of 18 U.S.C.

 § 371—without the benefit of a Rule 11 agreement, although the government did

 offer one. (PSR, ¶¶ 1, 4). Thakkallapally’s co-conspirators are the foreign citizen

 “students” he recruited and his co-defendants. (Id. at ¶¶ 19, 21).

       The maximum sentence for his offense is not more than five years’

 imprisonment, a maximum fine of $250,000, and an applicable term of supervised
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 up to three years. (PSR ¶¶¶ 53, 56, 61).

 II.   SENTENCING GUIDELINES CALCULATIONS AND § 3553(a)
       FACTORS

       Thakkallapally’s Sentencing Guidelines

       The government believes that Thakkallapally’s total offense level is 21 and

 his criminal history category is I, which results in a guideline range of 37–46

 months. However, the government expects that the United States Probation

 Department will ultimately calculate the range at 24-30 months. The difference

 between Probation’s guidelines and the government’s guidelines are two-fold. First,

 the Probation Department only assessed 6 points under USSG § 2L1.1(b)(2)(B) as

 the defendant harbored between 25-99 unlawful aliens. Thakkallapally should be

 assessed 9 points as the conspiracy harbored over 600 unlawful aliens and he is

 responsible for acts of other conspirators that are reasonably foreseeable and within

 the scope of jointly undertaken criminal activity. Nonetheless, while the United

 States believes Thakkallapally’s conduct is broad enough to include to conduct of

 his co-conspirators, the government will leave the scoring of this enhancement in

 the Court’s discretion.

       Second, the Probation Department only assessed 2 points under USSG §

 3B1.1(c) finding that Thakkallapally was an organizer or leader. Because

 Thakkallapally managed and supervised the recruitment process of at least 93


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 unlawful aliens, Thakkallapally should be assessed 3 points under USSG § 3B1.1(b).

       To qualify for a 3-point enhancement under USSG § 3B1.1(b), Thakkallapally

 must have a managed or supervised one or more of the participants and the criminal

 activity must have involved five or more participants or was otherwise extensive.

 USSG § 3B1.1(b); cmt. 2. “The burden of proving when the enhancement is

 appropriate is low: “‘[T]here need only be evidence to support a finding that the

 defendant was a manager or supervisor of at least one other participant in the

 criminal activity....’ ”” United States v. Beard, 394 Fed. Appx. 200, 205 (6th Cir.

 2010) (quoting United States v. Henley, 360 F.3d 509, 517 (6th Cir. 2004)). Control

 of subordinates is not necessary; Thakkallapally need only supervise or manage

 them. United States v. Johnson, 736 Fed. Appx. 568, 572 (6th Cir. 2018).

       In determining the defendant’s organizational role, and distinguishing

 between a leader and manager, Application Note 4 of § 3B1.1 identifies a number

 of non-exhaustive factors the Court can consider, including “the exercise of decision

 making authority, the nature of participation in the commission of the offense, the

 recruitment of accomplices, the claimed right to a larger share of the fruits of the

 crime, the degree of participation in planning or organizing the offense, the nature

 and scope of the illegal activity, and the degree of control and authority exercised

 over others.” See also United States v. Lalonde, 509 F. 3d 750, 765-66 (6th Cir.

 2007).

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       Here, Thakkallapally’s 54 recruited students are undoubtedly participants in

 the criminal activity. Beyond recruiting these students to the University of

 Farmington in exchange for at least $15,000, Thakkallapally managed all of their

 paperwork, submitted the student’s applications, received their acceptance letters,

 arranged their “start” date, requested deferrals on student’s behalf, and facilitated

 the acceptance of fee receipts/SEVIS transfers.

 Among many others, the emails below illustrate Thakkallapally’s managerial role:

                    From: Vinith errabelli <vinni.rao9999@gmail.com>
                    Sent: Thursday, September 27, 2018 1:31 PM
                    To: studentaccounts@universityoffarmington.edu
                    Subject: Re: Outstanding Tuition Balance - Termination of Status


                    Hello Carei, Gandam married to a US citizen, we can terminate his status
                    right away.



                    From: Vinith errabelli
                    To: Ali Milani
                    Subject: May intake last 4 applications
                    Date: Monday, April 23, 2018 9:07:28 AM
                    Attachments: Surender reddy Gadila UF Intl Application.pdf
                                   Naveen Kumar Gunnammagari.pdf
                                   Gopi chand Thotakura.pdf
                                   Bala sundera rao.pdf

                    Hi Ali, please find the attached last 4 applications for may intake, i will
                    send the passport and visa copies to carey

                    Surender reddy Gadila
                    naveen Kumar Gunnammagari
                    Bala sundera rao
                    Gopi chand Thotakura

                    Thanks
                    Vin
                                              11
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                    From: Vinith errabelli
                    To: Ali Milani
                    Subject: srikanth Avu
                    Date: Monday, March 5, 2018 1:45:10 PM
                    Attachments: Srikanth Emp Letter.pdf

                    Hi Ali, please find the CPT employer letter and send me his i20.

                    Thanks
                    Vin


       The 3553(a) Factors

       In determining an appropriate sentence, the Court should use the Sentencing

 Guidelines as a “starting point and the initial benchmark.” United States v. Lalonde,

 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 552 U.S. 38, 49

 (2007)). Indeed, a sentence within the guidelines range carries a “rebuttable

 presumption of reasonableness.” United States v. Buchanan, 449 F.3d 731, 734 (6th

 Cir. 2006). This is so because the guidelines “represent nearly two decades of

 considered judgment about the range of sentences appropriate for certain offenses.”

 (Id. at 736) (Sutton, J., concurring). In particular, the guidelines aggregate the

 “sentencing experiences of individual judges, the administrative expertise of the

 [Sentencing] Commission, and the input of Congress….” Id.

       Beyond the Guidelines, the Court should consider all of the factors set forth

 in 18 U.S.C. § 3553(a). Gall, 552 U.S. at 49–50. The § 3553(a) factors include:

       (1) the nature and circumstances of the offense and the history and
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       characteristics of the defendant;
       (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect
              for the law, and to provide just punishment for the offense;
              (B) to afford adequate deterrence to criminal conduct;
              (C) to protect the public from further crimes of the defendant;
              and
              (D) to provide the defendant with needed educational or
              vocational training, medical care, or other correctional
              treatment in the most effective manner; [and]
                                       ***
       (6) the need to avoid unwanted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct….

 18 U.S.C. § 3553(a).

       Thakkallapally’s conduct in this case demonstrates why a sentence within the

 guidelines is appropriate. Thakkallapally may suggest his role in committing fraud

 and harboring illegal aliens for profit stemmed from his attempt to help foreign

 national students obtain an education—including for some students who sought to

 transfer from schools that were in danger of losing their accreditation. 2 But his and

 his students’ aims were not so noble.

       Their true intent could not be clearer. While “enrolled” at the University, one



 2
   These schools cater to “students” who want to exploit our foreign student
 education program. While they are the exception rather than the rule, unfortunately
 they do exist. Some of the “pay to stay” schools located around the United States
 that have been exposed over the years are: Prodee University; Neo-America
 Language School; Walter Jay M.D. Institute; the American College of Forensic
 Studies; Likie Fashion and Technology College; Tri-Valley University; Herguan
 University; the University of Northern Virginia; and the American College of
 Commerce and Technology.
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 hundred percent of the foreign citizen students never spent a single second in a

 classroom. If it were truly about obtaining an education, the University would not

 have been able to attract anyone, because it had no teachers, classes, or educational

 services. Instead, Thakkallapally and the foreign nationals he recruited wanted to

 commit a fraud upon the United States. At the outset, Thakkallapally informed his

 recruits there would be no classes and no education. The “students” willingly paid

 thousands of dollars to the undercover agents so that they could obtain fraudulent

 documents (Form I-20’s) that would allow them to illegally stay, re-enter, and work

 in the United States.

       But Thakkallapally’s conduct was much more offensive than that of his

 recruits. Once he knew exactly what the University was—a fraud—he, not the

 University, raised the idea of recruiting other students who would be willing to

 commit fraud. He did so in order to make money. Specifically, in exchange for

 finding, enlisting, and managing all of the paperwork for others to illegally remain

 in the United States, he received more than $15,000 in profits. Hence, his illegal

 arrangement with the University proved to be quite profitable for him.

       Therefore, Thakkallapally’s conduct necessitates a guidelines sentence, and

 there are no legitimate reasons to vary below that range. (PSR ¶ 67.). Nonetheless,

 under our immigration laws, Thakkallapally must be sentenced to at least 12 months

 in custody to permanently bar him from re-entering the United States. Such a bar is

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 certainly fitting in this case, since Thakkallapally intentionally exploited our student

 visa system for his own financial gain. He did so with the full knowledge that most

 of his recruits wanted to illegally enter the United States job market while unlawfully

 remaining in the United States. As a direct result of his actions, his recruited

 students—who were illegally working in the United States—deprived otherwise

 qualified individuals of employment or training opportunities.

       A.     Sentencing Reform Act factors

              1.     Seriousness of the offense

       Thakkallapally’s decision to conspire to harbor aliens and commit visa fraud

 is a serious offense, as indicated by Congress’s decision to authorize up to five years

 in prison for the offense. See 18 U.S.C. § 371; (PSR, ¶ 57). Specifically in this case,

 the F-1 student visa program is designed to promote and encourage foreign students

 to study at American institutions. (PSR, ¶ 9–16). Once they finish their course of

 study, the students must leave within 15 days. (Id. at ¶ 13). The idea is that the

 students return to their native countries to share their new knowledge and skills for

 the betterment of themselves and their country. Accordingly, the F-1 student visa

 program is not a naturalization program—i.e., it is not intended to be a path to

 obtaining U.S. citizenship.

       If he receives a guidelines sentence, Thakkallapally will be deported once he

 serves his sentence, and he will be permanently barred from returning to the United

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 States in the future. And even without a permanent bar from a guidelines sentence,

 Thakkallapally will likely be deported, and there is no way to know whether he will

 return to the United States. Yet his likely deportation should not trigger a variance

 windfall.

        The Sixth Circuit has been clear that 18 U.S.C. § 3553 requires that the

 defendant’s sentence reflect the seriousness of the offense, promote respect for the

 law, and provide just punishment. United States v. Musgrave, 761 F.3d 602, 608 (6th

 Cir. 2014). Deportation is not part of the defendant’s sentence. Many things that

 happen to a defendant following his conviction and sentence are “impermissible

 facts” in determining a sentence. Id. Things such as losing a professional license,

 paying legal fees, suffering embarrassment or a damaged reputation, or as is the case

 here, being deported, are not part of this Court’s sentence. “None of these things

 are [the defendant’s] sentence. Nor are they consequences of his sentence,” and a

 district court should therefore sentence the defendant “without considering these

 factors.” Id.

        Furthermore, Thakkallapally and his co-conspirators (his recruited students)

 ignored the purpose of the F-1 student visa program. In fact, Thakkallapally has

 remained in the United States since 2014, totaling over five years in the United States

 before he was arrested on January 31, 2019. (Id. at ¶ 4). During his time with the

 University, Thakkallapally illegally obtained employment and made approximately

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 $70,000 a year. (Id. at ¶ 51). Those jobs could have gone to U.S. citizens or to other

 foreign students who were lawfully in the United States on valid visas.

               2.    Deterrence, protection of the public, and nature and
                     circumstances of the offense

         As noted above, Thakkallapally will likely be deported, and thus the

 likelihood of him re-engaging this same criminal conduct is highly unlikely.

 However, the Court’s contemplation of §3553 factors regarding deterrence and

 protection of the public is not solely limited to whether the defendant is likely to be

 a recidivist. Rather, this Court is likewise required, in determining an appropriate

 sentence, to seek to deter others from committing such crimes and protect the public.

 This Court should do so in this instance. According to an SEVP summary issued by

 U.S. Immigration and Customs Enforcement in November 2016, 1.23 million

 foreign students were studying in the United States on student visas in 2016, and

 8697 schools were certified to enroll international students. 3 A within guideline

 sentence for Thakkallapally would invariably serve as a warning and act as

 deterrence to any of the other one million other foreign students that are currently

 studying on student visas in the United States who may contemplate engaging in

 similar such conduct.

         Additionally, this action and the related actions—19-cr-20024 and 19-cr-



 3
     https://www.ice.gov/doclib/sevis/pdf/byTheNumbersDec2016.pdf (p.2).
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 20025—have garnered considerable media attention since the indictments were

 unsealed. Presumably, the sentences in this case and the related cases will also

 receive media focus. As a result, strong sentences against Thakkallapally and the

 other defendants would have a considerable chance of deterring other foreign

 students—and some schools—from abusing the F-1 student visa program. In

 addition, as indicated by the success Thakkallapally and the other defendants had in

 recruiting students to the University, their vast network of students and potential

 students, at the very least, could be deterred by a sentence with within the sentencing

 guidelines.

       In light of the above, a deterrent prison sentence between 37 and 46 months

 is appropriate.

               3.    Characteristics of the defendant

       Thakkallapally indicated he has a loving and supportive family in India. (PSR,

 ¶ 41-43). He further indicated that he suffers from chronic asthma and was

 previously hospitalized in India for the condition. (Id. at 46). He attended a Junior

 College university in India and pursued a Master’s degree from Northwestern

 Polytechnic University in computer science. (Id. at 49). Thus, he has received

 support, love, and opportunities that many defendants who appear before this Court

 have not, and yet he still chose to commit the instant offense. As a result,

 Thakkallapally’s personal characteristics counsel that a guideline sentence is

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 appropriate.

                4.   Need to avoid sentencing disparities

       The Supreme Court reiterated in Booker that reducing sentencing disparities

 was Congress’s basis statutory goal in passing the Federal Sentencing Guidelines.

 United States v. Booker, 543 U.S. 220, 250, 264 (2005). Thus, calculating and

 analyzing the guidelines is the primary driver in avoiding unwanted sentencing

 disparities. Id. at 264 (“The district courts, while not bound to apply the Guidelines,

 must consult those Guidelines and take them into account when sentencing.”).

 Indeed, by correctly calculating and considering the Sentencing Guidelines, the

 Court automatically gives “significant weight and consideration to the need to avoid

 unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007). A variance

 in this matter would result in unwanted sentencing disparities.

       Furthermore, a variance based on deportation would be contrary to the dictates

 of 18 U.S.C. § 3553 (2)(A) which requires that the defendant’s sentence reflect the

 seriousness of the offense (see above). By allowing the Court to consider deportation

 as grounds for a downward variance for illegally harboring aliens, it would

 invariably grant the Court the authority to vary for an alien yet bar similar such

 consideration for an equally culpable defendant, who happens to be a U.S. citizen,

 and not subject to deportation. In essence, it would reward an alien while punishing

 a United States citizen for committing the exact same offense. This is universally

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 unfair and would likewise run afoul of 18 U.S.C. Section 3553(a)(6) which mandates

 that the Court’s sentence should “… avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.”

       Here, Thakkallapally sought to abuse the student visa program so that he could

 remain and work in the United States illegally. While illegally present in the United

 States he chose to line his own pockets when he proposed illegally making money

 by managing, harboring and recruiting other foreign students to do the same. In

 return for his recruitment efforts, he received more than $15,000 in profit. Such

 calculated criminal acts do not warrant a downward variance.

       Therefore, this factor favors a sentence within the guidelines. However, the

 Court should also be mindful of the five other recruiters charged in this case, along

 with the two recruiters charged in related cases, 19-cr-20024 and 19-cr-20025.

 Naveen Prathipati, who recruited less than twenty students, received a sentence of

 12 months and a day, Bharath Kakireddy and Suresh Kandala, received a sentence

 of 18 months. Thakkallapally, like Kandala, helped enlist hundreds of foreign

 citizens to enroll at the University with the goal of fraudulently maintaining their

 status in the United States.




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 III.   CONCLUSION

        For the reasons stated above, the government recommends this Court

 sentence Thakkallapally within the sentencing guideline range.


                                          Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2019, I electronically filed the

 foregoing paper with the Clerk of the Court using the ECF system, which will

 provide notification to all counsel of record.




                                                  /s/Timothy P. McDonald
                                                  Timothy P. McDonald
                                                  Assistant United States Attorney




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